Case 1:21-cv-15902-NLH-AMD
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                                    UNITED STATES JUDICIAL PANEL
                                                 on
                                     MULTIDISTRICT LITIGATION



 IN RE: JUUL LABS, INC., MARKETING, SALES
 PRACTICES, AND PRODUCTS LIABILITY
 LITIGATION                                                                                       MDL No. 2913



                                            (SEE ATTACHED SCHEDULE)



                             CONDITIONAL TRANSFER ORDER (CTO −70)



 On October 2, 2019, the Panel transferred 5 civil action(s) to the United States District Court for the Northern
 District of California for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407. See
 396 F.Supp.3d 1366 (J.P.M.L. 2019). Since that time, 267 additional action(s) have been transferred to the
 Northern District of California. With the consent of that court, all such actions have been assigned to the
 Honorable William H. Orrick, III.

 It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
 actions previously transferred to the Northern District of California and assigned to Judge Orrick.

 Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
 the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Northern District of
 California for the reasons stated in the order of October 2, 2019, and, with the consent of that court, assigned
 to the Honorable William H. Orrick, III.

 This order does not become effective until it is filed in the Office of the Clerk of the United States District
 Court for the Northern District of California. The transmittal of this order to said Clerk shall be stayed 7 days
 from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day
 period, the stay will be continued until further order of the Panel.



                                                                          FOR THE PANEL:

                     Sep 02, 2021

                                                                          John W. Nichols
                                                                          Clerk of the Panel

                                        I hereby certify that the annexed
                                      instrument is a true and correct copy
                                        of the original on file in my office.

                                  ATTEST:
                                  SUSAN Y. SOONG
                                  Clerk, U.S. District Court
                                  Northern District of California


                                      by:
                                                 Deputy Clerk
                                      Date:    9/2/2021
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  IN RE: JUUL LABS, INC., MARKETING, SALES
  PRACTICES, AND PRODUCTS LIABILITY
  LITIGATION                                                           MDL No. 2913



                      SCHEDULE CTO−70 − TAG−ALONG ACTIONS



    DIST       DIV.     C.A.NO.      CASE CAPTION


  NEW JERSEY

     NJ         1      21−15902      SHAW v. JUUL LABS, INC. et al
